                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

                                                     Case No. 4:21-cv-03049
 JANE DOE,

                     Plaintiff,

        vs.                                            DEFENDANTS’
                                                 MOTION FOR LEAVE TO FILE
 BOARD OF REGENTS OF THE                       RESTRICTED ACCESS DOCUMENTS
 UNIVERSITY OF NEBRASKA; and
 individuals TAMIKO STRICKMAN and
 JOHN ROE, individually and in their
 official capacities; and OTHER
 UNIDENTIFIED DEFENDANTS;

                     Defendants.

       Defendants Board of Regents of the University of Nebraska (“BRUN”); and Tamiko

Strickman (“Ms. Strickman”), collectively (“Defendants”), pursuant to NECivR 5.3(C)(1),

move the court for leave to file restricted access documents in support of their Motion

for Summary Judgment and Motion to Exclude Plaintiff’s Experts and Strike (“Motions”).

In support of this motion, Defendants state:

       1.     On February 7, 2022, the Court entered a Protective Order that provides:

“Discovery Material designated as ‘CONFIDENTIAL’ shall be provisionally filed under

restricted access with the filing party’s motion for leave to file restricted access

documents.” [Filing No. 32, ¶ 11].

       2.     In support of Defendants’ Motions and Briefs, Defendants are filing

exhibits, including discovery material marked confidential, or documents that reflect

information from materials marked confidentially—specifically, Exhibits A – C, F – Q, S

– V.

       3.     Such confidential discovery material is necessary evidence to support

Defendants’ arguments in support of their Motions.
      4.     Because the documents themselves are protected as confidential or reflect

confidential information, redaction would insufficiently protect the documents as

required by the Court’s Protective Order.

      5.     The confidential documents have been provisionally filed under restricted

access.

      WHEREFORE, Defendants respectfully request leave of the Court to file restricted

access documents (Exhibits A – C, F – Q, S – V) in support of their Motions.

      Dated this 15th day of September, 2023.

                                                BOARD OF REGENTS OF THE
                                                UNIVERSITY OF NEBRASKA and
                                                TAMIKO STRICKMAN, Defendants.

                                        By:     /s/ Lily Amare
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                                                Lily Amare #25735
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                                                      AND

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                             CERTIFICATE OF SERVICE

       I hereby certify that on September 15, 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to all parties who have entered an appearance in this case as well as
electronically transmitted.



                                               /s/ Lily Amare
                                               Lily Amare



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